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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                    MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                    SECTION: J
                                               ]
                                               ]                    Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                    Mag. Judge Wilkinson
                                               ]

                     SWORN DECLARATION OF EBBIE ROY THIGPEN

         Pursuant to 28 U. S. C. § 1746 Ebbie Roy Thigpen declares the following:

         1.      “My name is Ebbie Roy Thigpen. The facts contained in this declaration are

within my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from June 23,

2010 to April, 2011. O’Brien’s initially directed me to report to Mobile, Alabama. My duties

were to assist O’Brien’s in quality assurance. I visited work sites, local commands and beaches,

monitoring beach cleanup practices and tracking efficiency in the cleanup response to BP’s

Deepwater Horizon oil spill in April 2010.

         3.      I observed cleanup crews on beaches from Florida to Mississippi and monitored

the practices and procedures being employed at particular sites to determine whether better

practices could be used or whether those particular practices should be employed at other sites.

         4.      My duties required me to observe the beach cleanup contractors, the equipment

and supplies being used, the cleanup procedures and practices , and the material being removed

from the beach.

         5.      My last position with O’Brien’s was as the Alabama OSRO Manager. I worked

in the Mobile command center, O’Brien’s office and on the beaches. It was my job to help




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                                                                                          Ex. 17
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solve issues between command and the contractors. I attended daily meetings about what we

picked up or deployed each day and what was being planned for the near future.

        6.      O’Brien’s treated me as an independent contractor from the beginning of my

employment until January 1, 2011, when O’Brien’s reclassified me as an employee.

        7.      Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

        8.      Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Spill Workers’ compensation, set our schedules, and directed our work through command

staff on a daily basis.

                                           Hours Worked

        9.      During my employment, the other Spill Workers and I typically worked seven

days per week. I went 30 days before receiving a day off.

        10.     The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were sometimes longer than the regularly

scheduled twelve hours.

        11.     Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from August 1, 2010

to August 8, 2010. I worked twelve hours each of these days. See Exhibit 1.

                                              Pay

        12.     When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I




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would be paid “$500 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

       13.     Throughout my employment with O’Brien’s, I was paid $500 per day. This

amount did not increase if I worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                            Control

       15.     O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because Duane Miller, an O’Brien’s employee, contacted me over the phone to ask if I was

interested in working for O’Brien’s. I was then contacted by another O’Brien’s employee who

essentially hired me over the phone. My O’Brien’s teaming agreement was then emailed to me

for signature and then I reported to Mobile for deployment.

       16.     When I was hired, my supervisor, Bud Klein, and other O’Brien’s employees

instructed me how to do my job.

       17.     O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, O’Brien’s expected me to attend daily meetings

with senior command staff including O’Brien’s and BP personnel and federal, state and local

officials. When there were problems on the beaches, I would go to my O’Brien’s supervisor for

help when necessary.

       18.     I submitted a weekly report to Klein. O’Brien’s used these reports to monitor our

work and help the command staff track the day’s events and plan assignments for the following

day or remainder of the week.




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        19.     O’Brien’s directed the information I was to track and how I was to report it.

O’Brien’s also provided instruction on how to fill out the report forms I completed. When my

forms were not filled out properly, or there was some other problem with my work, Klein

required me to make corrections according to his instructions.

        20.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

It was approximately one month before I received a day off. Klein would have approved the

time off requests.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        24.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.     The Spill Workers and I were not allowed to hire employees to help us with our

work.




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       26.     O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

       27.     Around January 1, 2011, an O’Brien’s employee from HR met with us and

explained that O’Brien’s was going to make us employees. From that point on, O’Brien’s

classified me as an employee.

       28.     Just before I was let go, or “demobilized,” Duane Miller of O’Brien’s told me that

I was to report to demobilization. In demobilization, my O’Brien’s electronic access badge was

deactivated. After being demobilized, I returned home because I no longer had work or lodging

in Mobile.

                                            Investment

       29.     The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, O’Brien’s typically reimbursed us for travel expenses and mileage.

O’Brien’s also provided facilities, including offices and lodging.

                                    Special Skill or Expertise

       30.     O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received no formal training after being hired. I

found out about employment with O’Brien’s through my friend, Duane Miller. Based on his

recommendation, O’Brien’s contacted me and after a short phone interview, offered me a job

with O’Brien’s. Less than a week later, I was working for O’Brien’s in Mobile.

       31.     The other Spill Workers and I did not receive significant official or formal

training to perform our jobs. Instead, we learned how to perform our duties on the job. For




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example, I learned on the job how to fill out report forms and what information I was required to

track about the cleanup equipment.

                                 Interest in a Collective Action

       32.     Based on my experience working with O’Brien’s and my communications with

other Spill Workers, I know other spill workers are interested in joining a collective action to

recover their unpaid overtime.

       33.     I declare under penalty of perjury that the foregoing is true and correct.”


Signed on July 17, 2012.

                                              /s/ Ebbie Roy Thigpen
                                              ____________________________________
                                              Ebbie Roy Thigpen




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                                                                           BP
                                                                       RESPONSE
                                                                       TIME SHEET
Name: Ebbie Thigpen                                  Billing Period:         8/1/10-8/8/10

Paykey Code: ZKRAUMD252                              Response: Deepwater Horizon

  Date        Start     End    Total                          Location/Activity
              Time      Time   Hours
  8/1         6am     6pm      12                     Panama City/Contractor visits
  8/2         6am     6pm      12      Panama City/Contractor visits
  8/3         7am     7pm      12      Panama City contractor visits
  8/4         7am     7pm      12      Port St Joe IC visit
  8/5         7am     7pm      12      Panama City IC visit
  8/6         6am     6pm      12      Mobile Command Center
  8/7         6am     6pm      12      Mobile Command Center
  8/8         7am     7pm      12      Panama City/ command Center




 Signature:                                                          Date:

                                                                                        EXHIBIT 1
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                                                             EXHIBIT 2
